
660 S.E.2d 50 (2008)
STATE of North Carolina
v.
Jesus Armando ANDRADE.
No. 4P08.
Supreme Court of North Carolina.
March 6, 2008.
J. Clark Fischer, Winston-Salem, for Antrade.
Francis W. Crawley, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.


*51 ORDER

Upon consideration of the petition filed on the 4th day of January 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
